      Case 2:12-md-02323-AB Document 9824 Filed 03/28/18 Page 1 of 5




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL LEAGUE
RETIRED PLAYERS’ CONCUSSION            No. 2:12-md-02323-AB
INJURY LITIGATION
                                       MDL NO. 2323

THIS DOCUMENT APPLIES TO               Hon. Anita B. Brody
ALL PLAINTIFFS




    JOINDER IN REQUEST FOR A HEARING TO CORRECT FUNDAMENTAL
          IMPLEMENTATION FAILURES IN CLAIM PROCESSING
         Case 2:12-md-02323-AB Document 9824 Filed 03/28/18 Page 2 of 5



       The Locks Law firm filed a motion on March 20, 2018 (Dkt 9786) (the “Locks motion”)

seeking various relief including a hearing for several players in claims processing in connection

with the NFL Amended Settlement Agreement (“Settlement Agreement”).

       Lieff Cabraser Heimann & Bernstein, LLP (“LCHB”) joins in the motion on behalf of

pre-affective diagnoses clients as well as post effective date clients and respectfully request a

hearing to inform the Court of the failures and confusion, so that they can be corrected.

       LCHB has filed section 6.4(b) pre-affective diagnosis date claims for certain retired

players as well as post effective diagnosis date claims for certain retired players whose doctors

have reported that the retired players carry the qualified diagnoses required under the Settlement

Agreement. Our experience in the claims process shows that the terms of the settlement

agreement are not being faithfully applied, similar to that described in the Locks’ memo at pages

6-7(a)(n) (identifying 14 failures).

        In addition to the 14 failures identified in the Locks’ memo having to do with the pre-

effective date claimants, the claims administrator has also made a “new rule” for pre-affective

diagnosis date claims. For example, despite that the pre-affective diagnosis date claim requires

the supporting opinion of a board certified physician who is a board certified neurologist, or

neuro-psychiatrist, the claims administrator now requires several additional and previously

unmentioned additional steps. The Claims Administrator has sought to interview the physicians

who examined the claimant, without adequate HIPPAs. The Claims Administrator has required

the submission of five (5) years of medical records and employment records prior to the date the

claim was filed, which is otherwise not required under the Settlement Agreement. There is

nothing in the Settlement Agreement that calls for that production. In addition, the Claims

Administrator and the NFL have required neuropsychological testing for pre-effective date




                                                 -1-
         Case 2:12-md-02323-AB Document 9824 Filed 03/28/18 Page 3 of 5



claims, when there is no requirement for that testing under the Amended Settlement Agreement.

The Claims Administrator has requested reports from the NFL disability process that similarly

are not required under the Amended Settlement Agreement. Importantly, players have a strong

basis to believe the disability process in the NFL is a biased NFL-funded system. The players

would have never agreed to this Settlement if they knew the NFL-funded doctors in the NFL

disability system would have some say in whether the claims brought in this litigation are

awarded or not. These new rules and requirements are not part of the Amended Settlement

Agreement. Specifically it is not written down in section 6.3 (qualifying diagnosis) nor in

Exhibit 1 (injury definitions).

       Like the other “new rules” that the Claims Administrator has set-up (see Dkt 9786 at 15-

17), no class member ever received notice of any of these rules prior approval of the settlement

by this Court. The deleterious effect of these new rules and requirements is that many retired

players who can prove a qualifying diagnosis and are entitled to an award will not receive an

award because materials requested may not exist; many retired players who can prove a

qualifying diagnosis may be denied because they did not have a certain testing done by non-

physicians such as neuropsychologists; and, in other cases, many awards are woefully delayed at

every stage as the Claims Administrator requires additional steps that were never part of the

settlement.

       The problems are continuous and ever-growing. This is particularly problematic for the

older retired players filing pre-affective date diagnosis claims because they were never on notice

that their earlier medical records (for example through 2010) cannot be relied upon to establish a

diagnosis date; and because due to their older age there was already severely discounted; and

especially problematic for younger players who are frustrated in attempting to meet these




                                                -2-
        Case 2:12-md-02323-AB Document 9824 Filed 03/28/18 Page 4 of 5



requirements. Further, at the hearing where the settlement was first explained, the Claims

Administrator suggested no attorney was required to process a player’s claim. It has become

increasingly clear that the opposite is true. The claims process is filled with previously

undisclosed or earlier undescribed new rules, obstacles and blocks that only counsel can assist

clients to maneuver.

       We respectfully request that the Court hold a hearing to address these fundamental

implementation problems.

Dated: March 28, 2018                              Respectfully Submitted,

                                                   By:     /s/ Wendy R. Fleishman
                                                           Wendy R. Fleishman

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                                                -3-
             Case 2:12-md-02323-AB Document 9824 Filed 03/28/18 Page 5 of 5



                                     CERTIFICATE OF SERVICE

            It is hereby certified that a true copy of the foregoing document was served electronically

via the Court’s electronic filing system on the 28th day of March, 2018, upon all counsel of

record.



Dated: March 28, 2018                                     /s/ Wendy R. Fleishman
                                                          Wendy R. Fleishman


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                                                    -4-
